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__________________________________________________________________
                                          SO ORDERED,



                                          Judge Katharine M. Samson
                                          United States Bankruptcy Judge
                                          Date Signed: October 9, 2018

         The Order of the Court is set forth below. The docket reflects the date entered.
__________________________________________________________________
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